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              Exhibit 6
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https://www.linkedin.com/in/michael-holtzman-3a1a61132/




                                                                                                        •+Mi·S ···
             Michael Holtzman • 3rd lffl                                                         Bellwether Stra eg ies, Inc.

             PresidenVManaging Partner a SEC/N ewgate.                                           William &Mary
             N ew York, New York, Un ited States • 437 co nections
             Contact i nfo




             About
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  Experience

              President
              Sellwethe; Strategies, Inc.
              Sep 2006 - Present , 14 yrs 7 mos
              New York. New York


              President
              BU/Bellwether
              JJ 2004 - Sep 2006 • 2 yrs 3 mos
              New York, New York


              President
   BL]        BUWoMwide
              JJ 2002 - Sep 2006 • 4 yrs 3 mos
              Greater f\ew York City Area




  Education



  II          William & Mary
              Government




  Recommendations
   Received (0)      Given (1)


           Khaleel Ramadan                Khaled is all you could w ant in a senio r public r elations
           Director of Marketing &        professional. He is a strategic thinke r with an entrepreneurial
           Commurucations at NaUonal
                                          spirit. He is a motivator of his team a nd a a eative inspiratio n to
           Petroleum Construction
           Company                        his clients. His expertise and experie nce straddles the Middle
           June 18 2018 Michael m~naged   East/Gulf region with Europe and the US, making him .,. See more
           '(fla;.d d·rectly




  Interests



  II
              William&Mary                                             BU Worldwide
              ]; 48S iO\Hrs                                 BL]        3 776 follO'l,HS
